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iN THE UNITED srATEs DISTRICT COURT ’“°51./&,;@,g

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FOR THE WESTERN DlsTRICT OF TENNESSEE,,],_` 4 ,K., '“*?F
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JACK LESTER RoBER'rs, ) 5a
)
Plaintiff, )
)
vs. ) No. 04-1171-T-An
)
MARK ANDERSON, et al., )
)
Defendants. )

 

ORDER GRANTING MOTION FOR SUMMARY JUDGMENT OF DEFENDANTS
HARRY COOPER, MCKENZIE POLICE DEPARTMENT, CITY OF MCKENZIE

 

Plaintiff filed this action against Defendants Mark Anderson, Dennis Taylor, Harry
Cooper, McKenzie Police Department, City of McKenzie, David Morgan, Kathy Young,
John Doe Deputies, Bendell Bartholomew, and Carroll County, pursuant to 42 U.S.C. §
1983, alleging that his civil rights Were violated When he was arrested Without probable
cause, subjected to excessive force, and denied medical attentionl Defendants Harry
Cooper, McKenzie Police Department, and City of McKenzie have moved for summary
judgment [Docket # 34]. Plaintiff has responded to the motion. For the reasons set forth
below, Defendants’ motion is GRANTED.

Motions for summary jud gment are governed by Rule 56 of the Federal Rules of Civil

 

1 The Carroll County Sheriff’s Department was dismissed as a defendant on Septembcr 28, 2004. Mark
Anderson and Dennis Taylor were dismissed on March ll, 2005.

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of showing the "absence of a genuine issue of material fact as to an essential element of the
nonmovant‘s case." Streetv. J.C. Bradford & Co., 886 F.Zd 1472, 1479 (6th Cir. 1989). The
moving party may support the motion with affidavits or other proof or by exposing the lack
of evidence on an issue for which the nonmoving party will bear the burden of proof at trial.
Celotex Coro. v. Catrett, 477 U.S. 317, 324 (1986). The opposing party may not rest upon
the pleadings but, "by affidavits or as otherwise provided in this rule, must set forth specific
facts showing that there is a genuine issue for trial." Fed. R. Civ. P. 56(e).

"If the defendant . . . moves for summary judgment . . . based on the lack of proof of
a material fact, . . . [t]he mere existence of a scintilla of evidence in support of the plaintiffs
position will be insufficient; there must be evidence on which the j ury could reasonably find
for the plaintiff." Anderson v. Libertv Lobbv. lnc., 477 U.S. 242, 252 (1986). The court's
function is not to Weigh the evidence, judge credibility, or in any way determine the truth
of the matter, however. Anderson, 477 U.S. at 249. Rather, "[t]he inquiry on a summary
judgment motion . . . is . . . ‘whether the evidence presents a sufficient disagreement to
require submission to a [trier of fact] or whether it is so one-sided that one party must prevail
as a matter of law."' St_ree_t, 886 F.Zd at 1479 (quoting Anderson, 477 U.S. at 251-52).
Doubts as to the existence of a genuine issue for trial are resolved against the moving party.
Adickes v. S. H. Kress & Co., 398 U.S. 144, 158-59 (1970).

The complaint alleges that Defendants Taylor and Anderson, both police officers with

the City of McKenzie, responded to an attempted suicide by Plaintiff. Defendants allegedly

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approached Plaintiff’ s car and then "without cause, provocation, or warning, pulled Plaintiff
from his vehicle and threw Plaintiff on the hood of his car , and began to strike Plaintiff"
repeatedly Complaint at para ll. The complaint further alleges that Defendants beat and
kicked Plaintiff after he was handcuffed I_d. at para. 12. Plaintiff alleges that he did not
attempt to resist arrest and did not threaten Defendants "except in self defense after the
beatings began.“ Ld. at para. 13. According to Plaintiff, he suffered permanent injuries as
the result of his beating Plaintiff also alleges that these Defendants arrested him without
probable cause and denied him medical treatment for his injuries
The complaint alleges supervisory liability on the part of Defendant Cooper, who was
chief of police during the relevant time period. I_d. at para. 40. Defendant Cooper allegedly
failed to supervise and train Defendants Anderson and Taylor, despite having received
complaints having been made about them. l_d_. at para. 42. The complaint alleges that the
City had a policy or custom of failing to "instruct, supervise, control, and/or discipline"
Defendants Taylor and Anderson. I_<_:l_z at para. 48.
Defendant McKenzie Police Department
This case must be dismissed against the Police Department because it is not a legal
entity against whom a suit can be directed. Crawford v. Zeitler, 326 F.Zd l 19, 121 (6“‘ Cir.
1964; Hughson v. Countv ofAntrim, 707 F. Supp. 304 (W.D. Mich. 1988);M
of Holland, 490 F. Supp. 188 (W.D. Mich.1980) (police department is merely creature of

the city under state statute; city is real party in interest).

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Defendants Citv and Cooper

The court previously granted the motion for summary judgment of Defendants
Anderson and Taylor on Plaintiff” s claim of excessive force under Heck v. Humphrey, 512
U.S. 473 (1994). §§ Order 3/11/05. In I-Ieck v. Humphrey, 512 U.S. 477 (1994), the
Supreme Court held that:

[T]o recover damages for allegedly unconstitutional conviction or

imprisonment, or for other harm caused by actions whose unlawfulness would

render a conviction or sentence invalid, a § 1983 plaintiff must prove that the

conviction or sentence has been reversed on direct appeal, expunged by

executive order, declared invalid by a state tribunal authorized to make such

a determination, or called into question by a federal court's issuance of a writ

of habeas corpus, 28 U.S.C. § 2254.
li at 486-87. Thus, any claim for damages that, if successful, would "necessarily imply"
the "invalidity of any outstanding criminal judgment against the plaintiff" is not cognizable
under § 1983 unless the plaintiff demonstrates that judgments prior invalidation I_d. at 487.

This court acknowledged that Heck does not necessarily bar excessive force claims

under the Eighth Amendment, §§ Huey v. Stine, 230 F.3d 226, 230-231 (6“‘ Cir. 2000), but

 

instead, a court must decide whether Heck bars a particular § 1983 claim on a case-by-case
basis. See Foster-Bev v. Duncan, 1998 WL 124002 at **4-5 (6"‘ Cir.) (Whether a § 1983
claim is cognizable depends upon whether the nature of the underlying claims would
undermine the validity of the administrative hearing's decision). The court then found that,
in this particular case, a finding in favor of Plaintiff on his excessive force claim would call

into question his conviction Therefore, summary judgment was granted in favor of

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Defendants Taylor and Anderson.

Subsequently, Plaintiff moved the court to set aside the portion of its order granting
the motion for summary judgment of Defendants Dennis Taylor and Mark Anderson on his
excessive force claim. Plaintiff did not address the portion of the order granting the motion
for summary judgment on his claims that he was arrested without probable cause, denied
medical treatment, and subjected to malicious prosecution or on his state law claims.
[Docl<et #25]. The court rejected Plaintiff”s arguments and denied the motion in an order
entered on March 31, 2005.2

Defendants City and Cooper now contend that there can be no supervisory or
municipal liability under § 1983 if the plaintiff has not established a constitutional violation
by the individual defendants §e_eWatkins v. Batt]e Creek, 273 F.3d 682, 687 (6th Cir.2001)
(citing Los Angeles v. l-Ieller, 475 U.S. 796, 799 (1986)) (Ifthe plaintiff fails to establish
a constitutional violation by an individual officer, the local government unit cannot be held
liable for a failure to train under § 1983.) Plaintiff does not dispute this point of law but,
instead, attempts to reargue the liability of Defendants Anderson and Taylor. The court
declines to revisit that issue for the reasons stated in the order denying Plaintiff’ s motion to

reconsider.

 

2 Plaintiff did not respond to the motion for summary judgment of Defendants Taylor and Anderson;
however, the court recognized in both the order granting the motion for summary judgment and the order denying
Plaintiff`s motion for reconsideration that the failure to respond did not require the granting of Defendants’ motion.

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The court previously granted the portion of the motion for summary judgment of
Defendants Anderson and Taylor on Plaintiff’ s claims that he was arrested without probable
cause, denied medical treatment, and subjected to malicious prosecution Plaintiff has not
addressed these claims in his response to the present motion. Because Plaintiff has not
established a constitutional violation by the individual defendants on these claim, ge
_WLkins_, 273 F.3d at 687 (citing _He_ller, 475 U.S. at 799), Defendants City and Cooper are
entitled to summary judgment

To the extent that Plaintiff has asserted state law claims against Defendants, the court
does not have jurisdiction over those claims. Since Defendants are governmental employees
or entities, they are immune from suits based on state law except as provided by the
Tennessee Governmental Tort Liability Act, T.C.A. § 29-20-302, gm ("TGTLA"). This
act provides that the circuit courts have exclusive original jurisdiction over claims brought
under the Act. T.C.A. §29-20-307. S_e__e_Beddingfield v. Pulaski, 666 F. Supp. 1064 (M.D.
Tenn. 1987), reversed on other grounds, 861 F.2d 968 (6th Cir. 1988). Therefore, this court
does not have jurisdiction over Plaintiff’s state law claims. _(l Timberlake v. Benton, 786
F. Supp. 676 (M.D. Tenn. 1992) (Granting the motion to dismiss of the City and the officers
in their official capacities pursuant to Beddingfie]d but declining to apply the holding in
Beddingfield to the officers in their individual capacities.)

Alternatively, the court declines to exercise supplemental jurisdiction overPlaintiff`s

state law claims. §§ Maxwell v. Conn, 893 F.2d 1335, 1990 WL 2774 (6“‘ Cir.) (While

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the federal claims would ordinarily confer jurisdiction over plaintiff”s TGTLA claims
because they arise out of the same nucleus of operative fact, the decision of the Tennessee
legislature to grant original jurisdiction to state circuit courts belies plaintiff’ s claim that he
could expect to try all his claims in the same judicial proceeding, and the district court
properly declined to exercise its discretion by extending pendent jurisdiction over the state
common law negligence claims because of concerns of jury confusion.) Agc_im Spurlock
v. Whitley, 971 F. Supp. 1166 (M.D. Tenn. 1997), ajj”'d 167 F.3d 995 (6“‘ Cir. 1999) (A
court may decline to exercise supplemental jurisdiction if "in exceptional circumstances,"
there are "compelling reasons for declining jurisdiction," 28 U.S.C. § 1367(0)(4), and the
exclusivity provision of the TGTLA provides a compelling reason for this court to decline
supplemental jurisdiction of the TGTLA claim.) Accordingly, the state law claims brought
against Defendants are dismissed.
Conclusion

Accordingly, the motion for summary judgment of Defendants Harry Cooper,

McKenzie Police Department, and City of McKenzie is GRANTED.

IT IS SO ORDERED.

   

S D. TODD
ED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 1:04-CV-01171 was distributed by fax, mail, or direct printing on
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Honorable .1 ames Todd
US DISTRICT COURT

